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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

            _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
            UNITED STATES OF AMERICA,       )
                                            )
                       Plaintiff,           )
                                            )
                  -vs-                      )   Case No.
                                            )   2:07-cr-20327-JAC-MKM-2
            ANTONIO IVEZAJ, D-2,            )
                                            )
                       Defendant.           )
            _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ )


                                Proceedings had in the above-entitled

            matter, before the HONORABLE JULIAN ABELE COOK, United

            States District Judge, at 211 Lafayette, Theodore Levin

            Courthouse, Detroit, Michigan, on Tuesday,

            September 16, 2008.


            APPEARANCES:

                   BRUCE C. JUDGE, ESQ.
                   United States Attorney's Office
                   211 W. Fort Street Suite 2001
                   Detroit, Michigan 48226


                       Appearing on behalf of United States of
                       America,


                   LAW OFFICES OF MICHAEL J. KEMNITZ, PC
                   645 Griswold Street Suite 1717
                   Detroit, Michigan 48226
                      (By Michael J. Kemnitz, Esq.)


                           Appearing on behalf of Defendant.




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                            W I T N E S S   I N D E X
                            _ _ _ _ _ _ _   _ _ _ _ _


            Witness               Examined_by                  Page
            _______               ________ __                  ____
                                  (None)




                            E X H I B I T   I N D E X
                            _ _ _ _ _ _ _   _ _ _ _ _


            Exhibit_No.           Description                  Page
            _______ ___           ___________                  ____
                                  (None marked)
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                     THE NEW CENTURY GROUP    (313) 963-5410




        1                                   Detroit, Michigan

        2                                   Tuesday, September 16, 2008

        3                                   11:10 a.m.

        4                             _   _    _

        5                      THE CLERK:     Court calls Case No.

        6          07-cr-20327-2, United States of America versus

        7          Antonio Ivezaj.

        8                      MR. JUDGE:     Good morning, your Honor,

        9          for the record, Bruce Judge appearing on behalf of

       10          the United States.

       11                      MR. KEMNITZ:    Good morning, your Honor,

       12          Michael Kemnitz appearing on behalf of Mr. Ivezaj.

       13                      THE COURT:     Thank you.   Would you bring

       14          your client to the podium.

       15                      MR. KEMNITZ:    Sure.

       16                      THE COURT:     Would you swear the

       17          witness, please?

       18                      THE CLERK:     Mr. Ivezaj, please raise

       19          your right hand.

       20                       Do you solemnly swear that the

       21         testimony you will give will be the truth, the

       22         whole truth and nothing but the truth?

       23                      THE DEFENDANT: Yes, I do.

       24                      THE COURT:     What is your name, sir?
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       25                        THE DEFENDANT:   Antonio Ivezaj.



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                                                                       3




        1                        THE COURT:   Are you the Defendant in

        2          this case?

        3                        THE DEFENDANT:   Yes, sir.

        4                        THE COURT:   I have been presented with

        5          two documents by Mr. Judge, the counsel for the

        6          Government.   He has labeled his Proposed Exhibit

        7          No. 1 as a Rule 11 Plea Agreement.

        8                        The second document which has been

        9          identified by Mr. Judge, is his Proposed Exhibit 2

       10          is entitled Guilty Plea Questionaire.

       11                        On page ten of the Government's

       12          Proposed Exhibit 1, and on page seven of the

       13          Government's Proposed Exhibit No. 2, there appears

       14          to the court to be your signature.

       15                        I ask you to look at these two

       16          documents on the original form, and tell me if your

       17          signature appears on each one?

       18                        THE DEFENDANT:   Yes, they do, your

       19          Honor.

       20                        THE COURT:   I want you to look at the

       21          original documents.
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       22                        THE DEFENDANT:   I'm sorry.

       23                        THE COURT:   I want you to look at the

       24          original documents.

       25                        THE DEFENDANT:   Okay.   Yes, they do,



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        1          your Honor.

        2                        THE COURT:   Does your signature appear

        3          on the Proposed Exhibits 1 and 2?

        4                        THE DEFENDANT:   Correct, your Honor.

        5                        THE COURT:   Did you read each document

        6          before you signed your name to them?

        7                        THE DEFENDANT:   Yes, I did, your Honor.

        8                        THE COURT:   Did you sign these

        9          documents freely and voluntarily?

       10                        THE DEFENDANT:   Yes, I did, your Honor.

       11                        THE COURT:   Did anyone force you to

       12          sign your name to either of these documents?

       13                        THE DEFENDANT:   No, your Honor.

       14                        THE COURT:   For the purpose of this

       15          hearing, I will receive into evidence the

       16          Government's Proposed Exhibits 1 and 2.

       17                        Mr. Ivezaj, I will now submit to you a

       18          series of questions, most of which will be based on

       19          a pattern after the questions that are found in
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       20          Government's Exhibit 2.

       21                      I ask you to listen carefully to my

       22          questions and give me an answer only if you fully

       23          understand every word and phrase that is used.

       24                      If somehow you do not hear my

       25          questions, or if you do not understand a word or



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        1          phrase, please tell me.

        2                      If you have any questions which in your

        3          opinion require some legal advice, I recommend that

        4          you speak with your counsel, Mr. Kemnitz, who is on

        5          your immediate right, do you understand that, sir?

        6                      THE DEFENDANT:   Yes, I do, your Honor.

        7                      THE COURT:    Are you here today for the

        8          purpose of offering a plea of guilt to committing

        9          conspiracy to commit bribery?

       10                      THE DEFENDANT:   Yes.

       11                      THE COURT:    Do you know that any

       12          statement made by you today during this proceeding,

       13          may be used against you in perjury or false

       14          statement prosecutions by the Government?

       15                      THE DEFENDANT:   Yes.

       16                      THE COURT:    How old are you at the
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       17          present time?

       18                      THE DEFENDANT:   38 years old.

       19                      THE COURT:    Can you read, write and

       20          understand the English language?

       21                      THE DEFENDANT:   Yes.

       22                      THE COURT:    How far did you go in

       23          school?

       24                      THE DEFENDANT:   Two years of college.

       25                      THE COURT:    Do you know that you have a



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        1          right to have an attorney represent your interest

        2          during every legal proceeding before this court?

        3                      THE DEFENDANT:   Yes, your Honor.

        4                      THE COURT:    You know that I will

        5          appoint a lawyer to represent your interest in this

        6          case, if you cannot afford to retain an attorney of

        7          your own selection?

        8                      THE DEFENDANT:   Yes, your Honor.

        9                      THE COURT:    Do you know that you have a

       10          right to plead not guilty?

       11                      THE DEFENDANT:   Yes, your Honor.

       12                      THE COURT:    Do you know that as a

       13          Defendant, you are presumed to be innocent until

       14          such time as your guilt is determined by a jury or
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       15          by me in a non-jury trial, or your waiver to a

       16          trial is accepted by me?

       17                      THE DEFENDANT:   Yes, your Honor.

       18                      THE COURT:    Is it your desire to give

       19          up your rights to a trial by jury?

       20                      THE DEFENDANT:   Yes, your Honor.

       21                      THE COURT:    Is it also your desire to

       22          give up your rights to a trial without a jury?

       23                      THE DEFENDANT: Yes, your Honor.

       24                      THE COURT: You aware the Government

       25          have to prove your guilt beyond a reasonable doubt



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        1          at trial?

        2                      THE DEFENDANT:   Yes.

        3                      THE COURT:    Do you understand that you

        4          have a right to be confronted by all of the

        5          witnesses who have been proposed by the Government

        6          to testify against you?

        7                      THE DEFENDANT:   Yes.

        8                      THE COURT:    You know that your attorney

        9          will be given an opportunity to cross-examine every

       10          witness who have been called upon by the Government

       11          to testify against you?
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       12                      THE DEFENDANT:   Yes.

       13                      THE COURT:    Are you aware that you have

       14          a right to call witnesses on your own behalf?

       15                      THE DEFENDANT:   Yes.

       16                      THE COURT:    You understand that you may

       17          use the subpoena for the purpose of obtaining the

       18          presence of witnesses to testify on your behalf

       19          during a hearing or trial in this case?

       20                      THE DEFENDANT:   Yes.

       21                      THE COURT:    Do you know that you have a

       22          right to remain silent, and not to incriminate

       23          yourself at anytime during this case?

       24                      THE DEFENDANT:   Yes.

       25                      THE COURT:    Are you aware that you're



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        1          not required to testify at anytime in this case,

        2          unless it is your desire to do so?

        3                      THE DEFENDANT:   Yes.

        4                      THE COURT:    Do you know that the United

        5          States attorney cannot comment upon your decision

        6          not to take the witness stand in your own defense?

        7                      THE DEFENDANT:   Yes.

        8                      THE COURT:    You understand that you

        9          have a right to have the jury instructed, that no
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        10         inference of guilt can be assumed by your election

        11         not to take the witness stand?

        12                     THE DEFENDANT:   Yes.

        13                     THE COURT:    If you plead guilty, do you

        14         know that there will be no trial and that you will

        15         give up your right to a trial?

        16                     THE DEFENDANT:   Yes.

        17                     THE COURT:    If you're convicted at a

        18         trial, are you aware of the right to appeal the

        19         verdict and/or the sentence?

        20                     THE DEFENDANT:   Yes.

        21                     THE COURT:    If your plea of guilty is

        22         accepted by me, or in the event that you are

        23         convicted at the conclusion of trial, are you aware

        24         of your right to receive the services of an

        25         attorney who will assist you with your appeal?



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         1                     THE DEFENDANT:   Yes.

         2                     THE COURT:    Has your attorney informed

         3         you of the nature and the elements of the criminal

         4         charge to which you offer the plea of guilt?

         5                     THE DEFENDANT:   Yes.

         6                     THE COURT:    Do you fully understand the
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         7         nature and the elements of this criminal offense?

         8                     THE DEFENDANT:   Yes.

         9                     THE COURT:    Has your attorney fully

        10         answered all of your questions about this criminal

        11         charge to your complete satisfaction?

        12                     THE DEFENDANT:   Yes, sir.

        13                     THE COURT:    Do you understand every

        14         provision within the Proposed Rule 11 Plea

        15         Agreement, which has been labeled in this record as

        16         Government's Exhibit 1?

        17                     THE DEFENDANT:   Yes.

        18                     THE COURT:    Are you aware that this

        19         Proposed Rule 11 Plea Agreement contains a

        20         provision which indicates that you have given up

        21         your right to appeal, as well as your right to

        22         collaterally attack the sentence?

        23                     THE DEFENDANT:   Yes, sir.

        24                     THE COURT:    You understand this

        25         Proposed Rule 11 Plea Agreement is only a



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         1         recommendation to me?

         2                     THE DEFENDANT:   Yes, sir.

         3                     THE COURT:    You realize that I have the

         4         right to reject this Proposed Rule 11 Plea
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         5         Agreement?

         6                      THE DEFENDANT:   Yes, I do, sir.

         7                      THE COURT:   Do you know that if your

         8         Proposed Rule 11 Plea Agreement is covered by

         9         Federal Rule of Criminal Procedure 11(c) 1(a), or

        10         Federal Rule of Criminal Procedure 11(c) 1(c), it

        11         will become binding upon you and the Government if

        12         and when it is accepted by me?

        13                      THE DEFENDANT:   Yes, sir.

        14                      THE COURT:   You also understand that

        15         your Proposed Rule 11 Plea Agreement is governed by

        16         Federal Rules of Criminal Procedure 11(c) 1(b), you

        17         do not the right to withdraw your guilty plea, even

        18         if I rejected the recommendation by the Government?

        19                      THE DEFENDANT:   Yes, sir.

        20                      THE COURT:   Mr. Judge, I have presented

        21         a series of questions to Mr. Ivezaj relating to the

        22         Rule 11 Plea Agreement.

        23                      Is there a provision within this

        24         document, namely Government's Exhibit 1, which

        25         speaks to any waiver of his right to appeal?



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         1                      MR. JUDGE:   Yes, your Honor, that's set
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         2         forth in pages seven and eight of the Rule 11

         3         Agreement between the parties.

         4                      And sets forth the agreement that

         5         should the Court impose a sentence at or below the

         6         agreed to range, which is 27 to 33 months, that the

         7         Defendant waives his right to appeal.

         8                      THE COURT:   Mr. Judge, will you read

         9         Paragraph 6 on page seven, which is entitled Right

        10         To Appeal?

        11                      MR. JUDGE:   Yes, your Honor, that

        12         paragraph sets forth, "If the sentence imposed

        13         falls within or below the guideline range

        14         determined pursuant to Paragraph 2 of the above,

        15         the Defendant waives any right to appeal of his

        16         conviction or sentence.

        17                      If the sentence imposed is above that

        18         range, the Defendant retains his right to directly

        19         appeal the Court's sentencing determination.

        20                      The Government agrees not to appeal any

        21         sentence within the guideline range, that is

        22         recommended in Paragraph 2(b), but retains the

        23         right to appeal any determination by the Court to

        24         apply a lower guideline range."

        25                      THE COURT:   Sir, did you hear Mr. Judge



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         1         recite a section within the Proposed Rule 11 Plea

         2         Agreement, which speaks to your waiver right to

         3         appeal?

         4                     THE DEFENDANT:   Yes, I did, Judge.

         5                     THE COURT:    Do you understand that?

         6                     THE DEFENDANT:   Yes, sir.

         7                     THE COURT:    Does it change your mind

         8         about offering a plea of guilty?

         9                     THE DEFENDANT:   No, sir.

        10                     THE COURT:    Are you aware that I may

        11         require you to provide full and complete

        12         restitution of any victim of your alleged activity?

        13                     THE DEFENDANT:   Yes, sir.

        14                     THE COURT:    If your guilty plea is

        15         accepted by me, do you know that a special

        16         assessment will be imposed upon you in addition to

        17         any fines or costs?

        18                     THE DEFENDANT:   Yes.

        19                     THE COURT:    I should note that

        20         Mr. Ivezaj, am I pronouncing your name correctly?

        21                     THE DEFENDANT:   Close enough, your

        22         Honor.

        23                     THE COURT:    Close enough, alright.

        24                     THE DEFENDANT:   Sure.

        25                     THE COURT:    Note that he has correctly



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         1         labeled $100 as the correct special assessment.

         2                     Mr. Judge, if this matter went to

         3         trial, what in your judgment, would the Government

         4         be able to prove against him if this matter went to

         5         trial?

         6                     MR. JUDGE:   Yes, your Honor, with

         7         respect to Count II of the superseding indictment,

         8         the Government would seek and prove at trial that

         9         starting in or between June of 2003 and continuing

        10         through October of 2003, that the Defendant,

        11         Mr. Ivezaj, agreed and conspired with Roy Bailey

        12         and with others, to commit the offense of bribery

        13         of a public official.

        14                     Your Honor, the Government would prove

        15         at trial and at that time, Mr. Bailey held the

        16         position of acting field office director for the

        17         Detroit, Michigan office of the Department of

        18         Homeland Security, Immigration and Customs

        19         Enforcement.

        20                     And evidence would further prove, your

        21         Honor, that during that time period at and in the

        22         location in Romulus, Michigan, that Mr. Ivezaj and

        23         others acting at his direction, provided free

        24         construction services and materials at a residence

        25         that was owned by Mr. Bailey.
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         1                     And will prove that, your Honor, the

         2         value of the services and materials provided to

         3         Mr. Bailey, were in excess of $3,000.

         4                     The Government will further show, your

         5         Honor, that in return for the free construction

         6         materials and services, that the agreement was that

         7         Mr. Bailey would take steps to release from the

         8         custody of Immigration and Customs Enforcement, a

         9         relative of Mr. Ivezaj who was then in custody and

        10         awaiting deportation from the United States.

        11                     The evidence will further show that on

        12         or about August 25th of 2003, that individual who

        13         was identified by the name John, which is spelled

        14         J-g-o-n, last initial C, that that individual who

        15         is a direct relative of the Defendant, Mr. Ivezaj,

        16         was, in fact, released from Immigration and Customs

        17         Enforcement custody.   And that would represent an

        18         official act commited by Mr. Roy Bailey.

        19                     THE COURT:    And once again, the date or

        20         the approximate dates of when this alleged offense

        21         occurred?

        22                     MR. JUDGE:    Yes, your Honor, the
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        23         evidence will prove that these events occurred

        24         between June of 2003 and October of 2003 at

        25         Romulus, Michigan, Detroit, Michigan and other



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         1         locations in the eastern district of Michigan.

         2                      THE COURT:   Sir, did you hear

         3         Mr. Judge's recitation in regarding his opinion

         4         that the Government will be able to prove against

         5         you if this matter went to trial?

         6                      THE DEFENDANT:   Yes, sir.

         7                      THE COURT:   Is there anything that he

         8         said that you disagree?

         9                      THE DEFENDANT:   No.

        10                      THE COURT:   Do you accept all of his

        11         statements as being correct?

        12                      THE DEFENDANT:   Yes, sir.

        13                      THE COURT:   Tell me in your own words

        14         what you did?

        15                      THE DEFENDANT:   I performed free

        16         construction work for Mr. Roy Bailey, to ensure

        17         there would be a release for my cousin from INS

        18         detention.

        19                      THE COURT:   Who is Roy Bailey?   I mean,

        20         your contact with him give you any satisfaction of
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        21         what you're trying to do?    Do you understand my

        22         question?

        23                     THE DEFENDANT:   As who he was?

        24                     THE COURT:    Well, I see the name

        25         Roy Bailey, but I'm trying to determine between the



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         1         year 2000 and 2003, did you know Roy Bailey, did

         2         you know him?

         3                     THE DEFENDANT:   Yes, sir.

         4                     THE COURT:    And did he have any

         5         governmental position?

         6                     THE DEFENDANT:   Yes, sir, I think he

         7         was one of the people that determined who would be

         8         released on bond.

         9                     THE COURT:    Do you know what his

        10         official title was?

        11                     THE DEFENDANT:   His exact title, not

        12         necessarily.    So, I know he was detainee, detention

        13         agent.   I'm not exactly sure exactly which.

        14                     THE COURT:    Do you know what department

        15         he worked with?

        16                     THE DEFENDANT:   The INS in Detroit.

        17                     THE COURT:    Is that a, to your
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        18         knowledge, is that a federal agency or a state

        19         agency?

        20                       THE DEFENDANT:   Federal agency, your

        21         Honor.

        22                       THE COURT:   And why would Roy Bailey be

        23         of any interest to you?

        24                       THE DEFENDANT:   To obtain the release

        25         of my cousin.



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                                                                        17




         1                       THE COURT:   And who is your cousin?

         2                       THE DEFENDANT:   My cousin's name is

         3         Jgon Cacaj.

         4                       THE COURT:   Would you, for the record,

         5         spell his last name?

         6                       THE DEFENDANT:   C-a-c-a-j.

         7                       THE COURT:   And he was, as far as

         8         between this period of time in 2000 and 2003, was

         9         he held by federal authorities?

        10                       THE DEFENDANT:   2003 I believe so, sir.

        11                       THE COURT:   To your knowledge, what was

        12         the charge of being held?

        13                       THE DEFENDANT:   For deportation.

        14                       THE COURT:   And did you have any

        15         contact with Roy Bailey with regards to your
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        16         cousin?

        17                     THE DEFENDANT:   Yes, sir.

        18                     THE COURT:    And was that written or

        19         oral?

        20                     THE DEFENDANT:   Oral.

        21                     THE COURT:    And what was the nature of

        22         your contact with Mr. Bailey?

        23                     THE DEFENDANT:   My contact with

        24         Mr. Bailey was whether there was a possibility for

        25         the release of my cousin, to go back home to his



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         1         wife and kids.

         2                     THE COURT:    According to the first

         3         superseding indictment as it relates to Count II,

         4         Paragraph 4 read as follows.    "In or about July and

         5         August of 2003, Antonio Ivezaj demanded, sought,

         6         received and accepted and agreed to accept the sum

         7         of $50,000 in funds, paid by and on behalf of an

         8         individual here and after identified as John C.,

         9         who was then in the custody of the Office of

        10         Detention and Removal Operations of Immigration and

        11         Customs Enforcement, formerly known as the

        12         Immigration and Naturalization Service."
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        13                       The following paragraph is Paragraph 5

        14         reads as follows, in August of 2003, Roy N. Bailey,

        15         released and cause to be released John C. from the

        16         custody of the Office of Detention and Removal of

        17         Operations of Immigration and Customs Enforcement.

        18         Formally known as the Immigration and

        19         Naturalization Services."

        20                       Are those statements correct?

        21                       THE DEFENDANT:   No, sir, your Honor,

        22         those statements aren't correct, there was never

        23         any payment of money.

        24                       THE COURT:   There was no money given to

        25         Mr. Bailey?



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         1                       THE DEFENDANT:   None whatsoever.

         2                       THE COURT:   Is that?

         3                       MR. JUDGE:   Sorry.

         4                       THE COURT:   Did you offer to pay

         5         Mr. Bailey any money?

         6                       THE DEFENDANT:   No, sir.

         7                       THE COURT:   Did you ever provide any

         8         third person with monies that were designed to be

         9         given to Mr. Bailey?

        10                       THE DEFENDANT:   No, sir.
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        11                     THE COURT:    Did you have any contact

        12         with Mr. Bailey other than--well, strike that.

        13                     What contact did you have with

        14         Mr. Bailey in his capacity as a representative of

        15         the Detention and Removal of Operations or

        16         Immigration and Customs employee?

        17                     THE DEFENDANT:   As far as?    I'm sorry,

        18         your Honor, the question?

        19                     THE COURT:    Did you have any contact

        20         with Mr. Bailey, which was designed to get your

        21         cousin released?

        22                     THE DEFENDANT:   Yes, sir.

        23                     THE COURT:    And what was that contact

        24         and when and where?

        25                     THE DEFENDANT:   The contact was made in



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                                                                      20




         1         Romulus, Michigan, I want to say in the month of

         2         August, 2003.

         3                     THE COURT:    And where did you have

         4         contact with him?

         5                     THE DEFENDANT:   At his home.

         6                     THE COURT:    Did he invite you to his

         7         home?
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         8                     THE DEFENDANT:   No, sir.

         9                     THE COURT:    You just showed up at his

        10         home?

        11                     THE DEFENDANT:   Yes, sir.

        12                     THE COURT:    How did you know where he

        13         lived?

        14                     THE DEFENDANT:   We had done a driveway

        15         a few years prior to that across the street for a

        16         neighbor of Mr. Bailey's.    Replaced, removed and

        17         replaced a driveway.

        18                     THE COURT:    Were you working as an

        19         employee of a company that you were removing the

        20         driveway?

        21                     THE DEFENDANT:   Me and my brother, your

        22         Honor.

        23                     THE COURT:    Did you and your brother

        24         own the company?

        25                     THE DEFENDANT:   Yes, sir.



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         1                     THE COURT:    And it was while you were

         2         working there that you saw or met Mr. Bailey?

         3                     THE DEFENDANT:   Yes, sir.   And he was

         4         also supervising myself while I was on there as

         5         well, your Honor.
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         6                     THE COURT:    Stop me, because I have you

         7         and your brother working on a driveway across from

         8         Mr. Bailey's home?

         9                     THE DEFENDANT:   Correct.

        10                     THE COURT:    Now, you're telling me that

        11         Mr. Bailey was a supervisor, you want to help me

        12         out?

        13                     MR. KEMNITZ:   Briefly, your Honor.     The

        14         reason Mr. Ivezaj knew who Mr. Bailey was, is

        15         because he had had contact with Mr. Bailey

        16         previously due to his own immigration case.

        17                     He had been through the immigration

        18         process before, and that's how he got to know Roy

        19         Bailey, that's how he knew Roy Bailey was the guy

        20         who could release somebody on bond.

        21                     He then--that's how he knew who

        22         Roy Bailey was, and then knew where he lived, knew

        23         how to go to Roy Bailey.

        24                     THE COURT:    All right.   Now, when did

        25         you go to Roy Bailey's home?



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         1                     THE DEFENDANT:   It was the month of

         2         August, your Honor.
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         3                     THE COURT:    Of what year?

         4                     THE DEFENDANT:   2003.

         5                     THE COURT:    Had Mr. Bailey invited you

         6         to come to his home?

         7                     THE DEFENDANT:   No, your Honor.

         8                     THE COURT:    You just showed up?

         9                     THE DEFENDANT:   Yes, sir.

        10                     THE COURT:    And what, if anything, did

        11         you say to him, and what, if anything, did he say

        12         to you?

        13                     THE DEFENDANT:   I basically had

        14         mentioned--I said I was in the neighborhood,

        15         driving in the neighborhood and I asked Mr. Bailey

        16         I have a cousin who has a wife and kids and he's

        17         been detained by the Deportation Department of INS.

        18                     What possibilities, or what procedures

        19         would have to be taken for him to be on bond while

        20         his deportation process was going.

        21                     THE COURT:    Did Mr. Bailey respond to

        22         your question?

        23                     THE DEFENDANT:   Yes, sir.

        24                     THE COURT:    And what, if anything, did

        25         he say?



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         1                     THE DEFENDANT:   He basically then gave

         2         me a tour of a new home he had purchased, he said

         3         he had purchased across the street from his home.

         4         And showed me what they were doing and how they

         5         were remodeling and asked me for opinions on

         6         certain things.

         7                     And basically showed me the kitchen.

         8         And basically asked me do I know anyone that knew

         9         how to do cabinet work, kitchen work basically.

        10         And yes, I did.

        11                     THE COURT:    That was his response to

        12         your question?

        13                     THE DEFENDANT:   No, his response to my

        14         question was, there is something that could be

        15         looked into it and see exactly what can be done.

        16                     THE COURT:    How did you interpret

        17         Mr. Bailey's comment?

        18                     THE DEFENDANT:   Basically that he

        19         implied that the kitchen work would help my cousin.

        20         There wouldn't be a reason why he wouldn't be able

        21         to be released on a supervised release.

        22                     THE COURT:    Did you read into his

        23         response that if you made the remodeling, did the

        24         remodeling project of this kitchen, that he would

        25         get your cousin released?



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         1                     THE DEFENDANT:   Yes.

         2                     THE COURT:    Did you perform any work on

         3         this kitchen?

         4                     THE DEFENDANT:   Yes, sir.

         5                     THE COURT:    Did you complete it?

         6                     THE DEFENDANT:   Yes, sir.

         7                     THE COURT:    And did you inform

         8         Mr. Bailey that you had completed the job?

         9                     THE DEFENDANT:   Yes, sir.

        10                     THE COURT:    And did your cousin get

        11         released?

        12                     THE DEFENDANT:   Yes, sir.

        13                     THE COURT:    Mr. Judge, incidentally

        14         you--when I asked Mr. Judge what, in his opinion,

        15         the Government would be able to prove, he told us a

        16         slightly different story.

        17                     Do you agree, I believe Mr. Judge

        18         indicated that monies had been passed?

        19                     MR. JUDGE:    No, your Honor, I actually

        20         clarified that.   The Government stated that

        21         construction services and materials had been

        22         provided to Mr. Bailey.   And the parties agree that

        23         those are worth in excess of $3,000.

        24                     Now, just to be clear from Mr. Ivezaj,

        25         that after the work was performed he never billed,
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         1         Mr. Ivezaj never received payment from Mr. Bailey.

         2                     THE COURT:    Is that correct?

         3                     THE DEFENDANT:   Correct, your Honor.

         4                     THE COURT:    Did you know what you were

         5         doing was wrong?

         6                     THE DEFENDANT:   Yes.

         7                     THE COURT:    Did you know it was against

         8         the law what you were doing?

         9                     THE DEFENDANT:   Yes.

        10                     THE COURT:    Are you aware that I am

        11         seeking to determine the appropriate sentence to

        12         impose upon you.   I have a legal obligation to

        13         consider the applicable sentencing guidelines.

        14                     Any possible departures under the

        15         sentencing guidelines, and such other sentencing

        16         factors that may be applicable under Title 18

        17         United States Code Section 3552, Sub-paragraph(a).

        18                     THE DEFENDANT:   Yes.

        19                     THE COURT:    Mr. Judge, would you advise

        20         Mr. Ivezaj of the maximum penalties I can impose

        21         upon him, including jail time and fines?

        22                     MR. JUDGE:    Yes, your Honor, under the

        23         statute provide for maximum jail is five years
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        24         imprisonment, and a fine up to $250,000, or both.

        25                     THE COURT:    Does that change--did you



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         1         hear Mr. Judge's recitation?

         2                     THE DEFENDANT:   Yes, I did.

         3                     THE COURT:    Does that change your mind

         4         about offering a plea of guilt today?

         5                     THE DEFENDANT:   No, sir.

         6                     THE COURT:    Do you know if your guilty

         7         plea is accepted by me, could result in the

         8         revocation of any presently existing probation or

         9         parole?

        10                     THE DEFENDANT:   Yes, sir.

        11                     THE COURT:    Do you understand that the

        12         law requires me to impose a term of supervised

        13         release on the completion of your imprisonment, if

        14         you're placed in custody for more than one year.

        15         Or if the term of supervised release is required by

        16         a specific statute?

        17                     THE DEFENDANT:   Yes, sir.

        18                     THE COURT:    Are you aware that if you

        19         violated a condition of supervised release, your

        20         supervised release may be revoked and followed by a

        21         term of imprisonment.
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        22                       Or you may be permitted to continue on

        23         supervised release without an extension of its

        24         terms or modification of its conditions?

        25                       THE DEFENDANT:   Yes, sir.



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         1                       THE COURT:   Is your plea of guilty

         2         being offered to me freely and voluntarily?

         3                       THE DEFENDANT:   Yes, your Honor.

         4                       THE COURT:   Have you been induced or

         5         persuaded to offer this plea of guilt because of

         6         any statement or representation by anyone, that you

         7         would be treated with leniency by me only if you

         8         offered a plea of guilt to this charge?

         9                       THE DEFENDANT:   No, sir.

        10                       THE COURT:   Have you been induced to

        11         offer this plea of guilt because of any threat,

        12         undue influence or duress or promise?

        13                       THE DEFENDANT:   No, sir.

        14                       THE COURT:   During the time of your

        15         exchange with Mr. Bailey, had you consumed any

        16         illegal drugs, medication, alcohol or controlled

        17         substances?

        18                       THE DEFENDANT:   No, sir.
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        19                     THE COURT:    Do you know of anything

        20         that would prevent you from fully understanding the

        21         questions that I have asked you today?

        22                     THE DEFENDANT:   No, sir.

        23                     THE COURT:    Do you know of anything

        24         that would prevent you from giving me full and

        25         complete and truthful answers to my questions?



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         1                     THE DEFENDANT:   No, sir.

         2                     THE COURT:    Is your plea of guilt being

         3         offered because you believe it would be in your

         4         best interest?

         5                     THE DEFENDANT:   Yes, sir.

         6                     THE COURT:    Are you asking me to accept

         7         your admission of guilt?

         8                     THE DEFENDANT:   Yes, sir.

         9                     THE COURT:    After reflecting upon your

        10         answers that you have given to my questions, do you

        11         now offer a plea of guilt to violating Title 18

        12         United States Code, Sections 201 and 371, namely

        13         conspiracy to commit bribery?

        14                     THE DEFENDANT:   Yes, sir.

        15                     THE COURT:    Have you thoroughly

        16         understood all the questions I have asked you
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        17         today?

        18                     THE DEFENDANT:   Yes, I have.

        19                     THE COURT:    Mr. Judge, do you have any

        20         questions of Mr. Ivezaj?

        21                     MR. JUDGE:    No, your Honor.

        22                     THE COURT:    Do you believe that the

        23         elements of the offense have been established?

        24                     MR. JUDGE:    Yes, your Honor.

        25                     THE COURT:    Do you know of any



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         1         procedure or irregularties with this hearing?

         2                     MR. JUDGE:    No, your Honor.

         3                     THE COURT:    Mr. Kemnitz, do you have

         4         any questions of your client?

         5                     MR. KEMNITZ:   No, I do not, your Honor.

         6                     THE COURT:    Do you believe the elements

         7         of the offense have been established?

         8                     MR. KEMNITZ:   I do, your Honor.

         9                     THE COURT:    Do you know of any

        10         procedure or irregularities with this hearing?

        11                     MR. KEMNITZ:   None, your Honor.

        12                     THE COURT:    I have completed my

        13         questioning of the Defendant in this case, and I am
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        14         fully satisfied that a factual basis has been

        15         established for the criminal offense which brings

        16         him into court today.

        17                     And in my judgment, his offer of guilt

        18         was voluntarily and intelligently made to me by

        19         him.   More over, I have not found any evidence of

        20         any mitigating factors which, in my opinion, would

        21         have adversely affected his ability to fully and

        22         completely understand the nature, as well as the

        23         consequences of his admission of guilt.

        24                     And finally Mr. Ivezaj, having been

        25         personally advised of this fundamental rights under



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         1         the United States Constitution and after consulting

         2         with his counsel, have knowingly and willingly

         3         waived those rights for the purpose of offering a

         4         plea of guilty in this case today.

         5                     Therefore, I will accept the offer of

         6         guilt by the Defendant Antonio Ivezaj, to violating

         7         Title 18 United States Code Section 201 and 371,

         8         conspiracy to commit bribery.

         9                     I will however, reserve judgment with

        10         regards to the acceptance of the Rule 11, Proposed

        11         Rule 11 Plea Agreement.   I will officially take it
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        12         under advisement.

        13                      I will direct you, sir, to return to

        14         this courtroom on November 21, 2008 at 2:00 in the

        15         afternoon.   At that time, I will advise you as to

        16         whether I will or will not accept the Rule 11 Plea

        17         Agreement.

        18                      If I do accept this Proposed Rule 11

        19         Plea Agreement, I will then impose a sentence on

        20         you immediately thereafter.

        21                      However, in the event that I decline to

        22         accept the Proposed Rule 11 Plea Agreement, in the

        23         event I can allow you to withdraw your offer of

        24         guilt and a new trial in this matter will be set

        25         for November 25, 2008 at 8:30 in the morning.



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         1                      Do you understand that, sir?

         2                      THE DEFENDANT:   Yes, I do, your Honor.

         3                      THE COURT:   What is the bond

         4         arrangement?

         5                      MR. JUDGE:   Your Honor, the Defendant

         6         is currently in custody of the U.S. Marshal

         7         Services Department.

         8                      THE COURT:   All right.   Anything else
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         9         from the Government?

        10                        MR. JUDGE:      Nothing further from the

        11         Government.

        12                        MR. KEMNITZ:     Nothing, your Honor.

        13                        THE COURT:      Thank you.

        14                            -       -       -

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                            _   _   _   _   _   _   _   _   _   _    _

         7

         8                          I, Deborah Jean Nash, do hereby

         9   certify that I have recorded stenographically the

        10   proceedings had and testimony taken in the above-entitled

        11   matter at the time and place hereinbefore set forth, and I

        12   do further certify that the foregoing transcript,

        13   consisting of (33) typewritten pages, is a true and

        14   correct transcript of my said stenograph notes.

        15

        16

        17                                      __/S__________________________
                                                Deborah Jean Nash, CSR-2993
        18                                      Certified Shorthand Reporter
             11-26-08
             ________
        19   (Date)

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